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                                  4                                   UNITED STATES DISTRICT COURT

                                  5                               NORTHERN DISTRICT OF CALIFORNIA

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                                  7        WHATSAPP INC., et al.,
                                                                                         Case No. 19-cv-07123-PJH
                                  8                     Plaintiffs,

                                  9              v.                                      ORDER DENYING MOTION TO
                                                                                         DISQUALIFY
                                  10       NSO GROUP TECHNOLOGIES
                                           LIMITED, et al.,                              Re: Dkt. No. 59-4
                                  11
                                                        Defendants.
                                  12
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                                  13

                                  14           Before the court is plaintiff WhatsApp, Inc.’s (“WhatsApp” or “plaintiff”)1 motion to

                                  15   disqualify. The matter is fully briefed and suitable for decision without oral argument.

                                  16   Having read the parties’ papers and carefully considered their arguments and the

                                  17   relevant legal authority, and good cause appearing, the court hereby DENIES plaintiff’s

                                  18   motion for the following reasons.

                                  19                                          BACKGROUND

                                  20           On October 29, 2019, plaintiffs WhatsApp and Facebook, Inc. filed a complaint

                                  21   (“Compl.”) alleging that defendants NSO Group Technologies, Ltd. (“NSO Group”) and Q

                                  22   Cyber Technologies Ltd. (“Q Cyber,” and together with NSO Group, “defendants”) sent

                                  23   malware to approximately 1,400 mobile phones and devices designed to infect those

                                  24   devices for the purpose of conducting surveillance of specific WhatsApp users. Dkt. 1,

                                  25   ¶ 1. On or about February 1, 2020, defendants hired King & Spalding, LLP (“K&S”) to

                                  26   represent them in the current matter. Dkt. 79-24, Declaration of M. Robert Thornton

                                  27
                                       1 Only plaintiff WhatsApp moves to disqualify King & Spalding and, therefore, references
                                  28
                                       to “plaintiff” are only to WhatsApp.
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                                  1    (“Thornton Decl.”), ¶ 13.

                                  2           The present motion does not directly involve defendants, rather, plaintiff WhatsApp

                                  3    contends that K&S should be disqualified from representing defendants based on a prior

                                  4    representation during which K&S served as counsel to WhatsApp. More specifically,

                                  5    from approximately December 15, 2015 to July 6, 2016, K&S represented WhatsApp in a

                                  6    matter that remains under seal in a separate federal district court. See Dkt. 67 at 3

                                  7    (discussing sealing standard and the sealed matter); Thornton Decl. ¶¶ 17, 20.

                                  8           In the prior sealed matter, WhatsApp retained K&S to serve as local counsel for

                                  9    WhatsApp’s primary outside counsel on the matter, ZwillGen, PLLC (“ZwillGen”). Opp. at

                                  10   3. Attorneys at K&S worked with ZwillGen to draft correspondence and court

                                  11   submissions on behalf of WhatsApp and K&S attorney O’Neil participated in face-to-face

                                  12   meetings with WhatsApp personnel as WhatsApp prepared for an in-person meeting
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                                  13   related to the sealed matter. Id. at 4. That meeting occurred on February 6, 2016 during

                                  14   which O’Neil represented WhatsApp in person and another partner, Wray, participated by

                                  15   phone. Id. Two other K&S attorneys, Oldham and Mezzina, represented WhatsApp on

                                  16   the matter but did not attend the meeting—Oldham oversaw the filing of court

                                  17   correspondence when O’Neil was not available and Mezzina provided research and

                                  18   analysis on a potential legal issue. Id.

                                  19          K&S’s involvement in the prior representation formally ended on July 6, 2016.

                                  20   Since then all four attorneys who billed time on the prior representation have left the

                                  21   firm.2 One attorney, Mezzina, has since returned to the firm, rejoining in January 2020.

                                  22   Id. at 6. As stated, K&S began the current representation on or about February 1, 2020.

                                  23   Thornton Decl. ¶ 13. On March 18, 2020, plaintiff’s counsel sent correspondence to K&S

                                  24   requesting that they withdraw from this case. Mtn. at 5. After requesting an interval to

                                  25   investigate the circumstances of the prior representation, K&S’s general counsel

                                  26   communicated that K&S did not intend to withdraw from the current representation. Id. at

                                  27
                                       2Wray was nominated and continues to serve as director of the FBI, Oldham is in-house
                                  28
                                       counsel at Equifax, and Ms. O’Neil passed away.
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                                  1    6; Thornton Decl. ¶ 33.

                                  2                                            DISCUSSION

                                  3    A.      Legal Standard

                                  4            Motions to disqualify counsel are decided under state law. Radcliffe v. Hernandez,

                                  5    818 F.3d 537, 543 (9th Cir. 2016) (citing In re Cty. of Los Angeles, 223 F.3d 990, 995

                                  6    (9th Cir. 2000)). The right to disqualify counsel is within the discretion of the trial court as

                                  7    an exercise of its inherent powers. Visa U.S.A., Inc. v. First Data Corp., 241 F. Supp. 2d

                                  8    1100, 1103 (N.D. Cal. 2003) (citing United States v. Wunsch, 84 F.3d 1110, 1114 (9th

                                  9    Cir. 1996)); accord Metro–Goldwyn–Mayer, Inc. v. Tracinda Corp., 36 Cal. App. 4th 1832,

                                  10   1837–38 (Ct. App. 1995) (“A trial court’s authority to disqualify an attorney derives from

                                  11   the power inherent in every court ‘[t]o control in the furtherance of justice, the conduct of

                                  12   its ministerial officers, and of all other persons in any manner connected with a judicial
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                                  13   proceeding before it, in every manner pertaining thereto.’” (alteration in original) (quoting

                                  14   Cal. Code of Civ. P. § 128)).

                                  15           Because a motion to disqualify is often tactically motivated and can be disruptive

                                  16   to the litigation process, disqualification is a drastic measure that is generally disfavored

                                  17   and should only be imposed when absolutely necessary. Concat LP v. Unilever, PLC,

                                  18   350 F. Supp. 2d 796, 814–15 (N.D. Cal. 2004) (citations omitted). The issue of

                                  19   disqualification

                                  20                 ultimately involves a conflict between the clients’ right to
                                                     counsel of their choice and the need to maintain ethical
                                  21                 standards of professional responsibility. The paramount
                                                     concern, though, must be the preservation of public trust in the
                                  22                 scrupulous administration of justice and the integrity of the bar.
                                                     The recognized and important right to counsel of one’s
                                  23                 choosing must yield to considerations of ethics that run to the
                                                     very integrity of our judicial process.
                                  24

                                  25   Metro–Goldwyn–Mayer, 36 Cal. App. 4th at 1838 (emphasis omitted) (quoting In re

                                  26   Complex Asbestos Litig., 232 Cal. App. 3d 572, 586 (Ct. App. 1991)); see also People ex

                                  27   rel. Dep’t of Corps. v. SpeeDee Oil Change Sys., Inc., 20 Cal. 4th 1135, 1145 (1999).

                                  28   ///
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                                  1    B.      Analysis

                                  2            Plaintiff contends that K&S engaged in an impermissible successive

                                  3    representation in violation of California Rule of Professional Conduct 1.9 and, therefore,

                                  4    the court should disqualify K&S from representing defendants. Mtn. at 8. In support of its

                                  5    motion, plaintiff advances two broad arguments, either sufficient to warrant

                                  6    disqualification. First, the two representations are substantially related such that K&S is

                                  7    presumed to have acquired confidential material. Id. Second, K&S has, in fact, obtained

                                  8    confidential material. Id. at 13.

                                  9            In determining matters of disqualification, this court follows the standards

                                  10   articulated in the California Rules of Professional Conduct. Visa, 241 F. Supp. 2d at

                                  11   1103; see Civ. L.R. 11–4. Rule 1.9 provides: “A lawyer who has formerly represented a

                                  12   client in a matter shall not thereafter represent another person in the same or a
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                                  13   substantially related matter in which that person’s interests are materially adverse to the

                                  14   interests of the former client unless the former client gives informed written consent.”

                                  15   Cal. R. Prof’l Conduct 1.9(a). Also relevant is Rule 1.10(b), which applies when a lawyer

                                  16   has terminated his or her association with a firm. That rule provides:

                                  17                  When a lawyer has terminated an association with a firm, the
                                                      firm is not prohibited from thereafter representing a person with
                                  18                  interests materially adverse to those of a client represented by
                                                      the formerly associated lawyer and not currently represented
                                  19                  by the firm, unless:
                                                              (1) the matter is the same or substantially related to that
                                  20                  in which the formerly associated lawyer represented the client;
                                                      and
                                  21                          (2) any lawyer remaining in the firm has information
                                                      protected by Business and Professions Code section 6068,
                                  22                  subdivision (e) and rules 1.6 and 1.9(c) that is material to the
                                                      matter.
                                  23

                                  24   Cal. R. Prof’l Conduct 1.10(b).

                                  25           In applying Rule 1.9, California courts distinguish between successive

                                  26   representations and simultaneous representations. See Flatt v. Superior Court, 9 Cal.

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                                  1    4th 275, 283–84 (1994).3 Where the potential conflict is one that arises out of successive

                                  2    representation of clients with adverse interests, the chief fiduciary value jeopardized is

                                  3    that of client confidentiality. Id. at 283. The test used for disqualification in those

                                  4    instances is whether there is a “substantial relationship” between the subjects of the

                                  5    former and current representations. Id. at 283–84. Once the substantial relationship is

                                  6    established, access to confidential information by the attorney in the course of the first

                                  7    representation is presumed and disqualification of the attorney’s representation of the

                                  8    second client is required; “indeed, the disqualification extends vicariously to the entire

                                  9    firm.” Id. at 283 (citations omitted); see also SpeeDee Oil, 20 Cal. 4th at 1139 (“When a

                                  10   conflict of interest requires an attorney’s disqualification from a matter, the disqualification

                                  11   normally extends vicariously to the attorney’s entire law firm.”).

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                                                     This is the rule by necessity, for it is not within the power of the
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                                                     former client to prove what is in the mind of the attorney. Nor
                                  13                 should the attorney have to “engage in a subtle evaluation of
                                                     the extent to which he acquired relevant information in the first
                                  14                 representation and of the actual use of that knowledge and
                                                     information in the subsequent representation.”
                                  15

                                  16   Global Van Lines, Inc. v. Superior Court, 144 Cal. App. 3d 483, 489 (Ct. App. 1983)

                                  17   (citations omitted).

                                  18          Here, the parties dispute whether Rule 1.9 or Rule 1.10 provides the applicable

                                  19   standard. Mtn. at 6; Opp. at 9–10. There is no question that three of the four K&S

                                  20   attorneys that represented WhatsApp in the prior representation are no longer associated

                                  21   with K&S, which might suggest that Rule 1.10 applies. One attorney, Mezzina,

                                  22   represented WhatsApp during the prior representation, then departed the firm after the

                                  23   prior representation concluded, and has since rejoined K&S one month prior to K&S’s

                                  24   current representation of defendants. Thornton Decl. ¶¶ 11, 13. This fact suggests that

                                  25   application of Rule 1.10 may not be on point because if Mezzina gained confidential client

                                  26
                                       3 On November 1, 2018, California adopted new rules of professional conduct and
                                  27
                                       renumbered the prior rules such that current Professional Rule 1.9 was formerly known
                                  28   as Rule 3-310(E). See Marshall v. Northrop Grumman Corp., No. 216CV06794ABJCX,
                                       2019 WL 4143300, at *4 (C.D. Cal. July 23, 2019) (describing change).
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                                  1    information, there is no reason to think the mere fact of his disassociation would cure his

                                  2    previously gained knowledge.

                                  3           However, the court need not resolve this quandary because both Rules 1.9 and

                                  4    1.10(b) require an analysis into whether the prior and current representations are

                                  5    substantially related. If the two matters are substantially related, then Rule 1.10(b)’s

                                  6    exception is not applicable and Rule 1.9(a)’s prohibition on successive representation

                                  7    applies. Conversely, if the two matters are not substantially related, then Rule 1.9’s

                                  8    prohibition does not apply and there is no basis to disqualify K&S. Therefore, the court

                                  9    first examines whether the two representations are substantially related and then

                                  10   resolves plaintiff’s alternative argument that K&S actually obtained confidential material.

                                  11          1.     Whether the Two Representations Are Substantially Related

                                  12          In determining whether a “substantial relationship” exists a court should consider
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                                  13   the similarities between the two factual situations, similarities in legal questions posed,

                                  14   and the nature and extent of the attorney’s involvement with the case and whether he

                                  15   was in a position to learn of the client’s policy or strategy. Adams v. Aerojet–General

                                  16   Corp., 86 Cal. App. 4th 1324, 1332 (Ct. App. 2001). In addition, it must be shown that

                                  17   the information from the prior representation is material to the current representation.

                                  18   Morrison Knudsen Corp. v. Hancock, Rothert & Bunshoft, 69 Cal. App. 4th 223, 234 (Ct.

                                  19   App. 1999). Information acquired during the first representation is “material” to the

                                  20   second if “it must be found to be directly at issue in, or have some critical importance to,

                                  21   the second representation.” Farris v. Fireman’s Fund Ins. Co., 119 Cal. App. 4th 671,

                                  22   680 (Ct. App. 2004) (citing Jessen v. Hartford Casualty Ins. Co., 111 Cal. App. 4th 698,

                                  23   712–13 (Ct. App. 2003)).

                                  24          Successive representations are substantially related where the facts support a

                                  25   “rational conclusion that information material to the evaluation, prosecution, settlement or

                                  26   accomplishment of the former representation given its factual and legal issues is also

                                  27   material to the evaluation, prosecution, settlement or accomplishment of the current

                                  28   representation given its factual and legal issues.” Jessen, 111 Cal. App. 4th at 713
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                                  1    (citations omitted). “[W]hether an attorney should be disqualified in a successive

                                  2    representation case turns on two variables: (1) the relationship between the legal

                                  3    problem involved in the former representation and the legal problem involved in the

                                  4    current representation, and (2) the relationship between the attorney and the former client

                                  5    with respect to the legal problem involved in the former representation.” Id. at 709.

                                  6                  a.     Nature of K&S’s Prior Representation of WhatsApp

                                  7           “[W]hen ruling upon a disqualification motion in a successive representation case,

                                  8    the trial court must first identify where the attorney’s former representation placed the

                                  9    attorney with respect to the prior client.” Id. at 710.

                                  10                 If the relationship between the attorney and the former client is
                                                     shown to have been direct—that is, where the lawyer was
                                  11                 personally involved in providing legal advice and services to the
                                                     former client—then it must be presumed that confidential
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                                                     information has passed to the attorney and there cannot be any
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                                                     delving into the specifics of the communications between the
                                  13                 attorney and the former client in an effort to show that the
                                                     attorney did or did not receive confidential information during
                                  14                 the course of that relationship.
                                  15   Id. at 709.

                                  16          Here, K&S began its prior representation on or about December 15, 2015 and last

                                  17   recorded time on March 16, 2016. Thornton Decl. ¶ 17. During that time, O’Neil and

                                  18   Wray engaged in the majority of the substantive representation concerning WhatsApp.

                                  19   For example, O’Neil and Wray personally participated in both internal and external in-

                                  20   person meetings with WhatsApp and assisted ZwillGen in reviewing and drafting

                                  21   documents. They recorded the majority of time that K&S billed WhatsApp (77.9 hours

                                  22   out of 93.6 total hours). Opp. at 5. Oldham billed 7.4 hours in February 2016 in

                                  23   preparation for a court filing on WhatsApp’s behalf. Id. at 4. Mezzina researched

                                  24   appellate-related issues in connection with the prior representation, billing 7.9 hours in

                                  25   February 2016. Id. at 4–5. These facts clearly indicate a direct relationship between

                                  26   K&S attorneys and WhatsApp, even though K&S served as local counsel to ZwillGen.

                                  27                 b.     Factual and Legal Similarities

                                  28          The second part of the substantial relationship inquiry asks whether the “subjects”
                                                                                      7
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                                  1    of the prior and current representations “are linked in some rational manner.” Jessen,

                                  2    111 Cal. App. 4th at 711 (citing Flatt, 9 Cal. 4th at 283). Subjects and subject matter

                                  3    “mean more than the strict facts, claims, and issues involved in a particular action.” Id.

                                  4    Thus, courts “ascribe to the word ‘subjects’ a broader definition than the discrete legal

                                  5    and factual issues involved in the compared representations. [Courts] consider the

                                  6    ‘subject’ of a representation as including information material to the evaluation,

                                  7    prosecution, settlement or accomplishment of the litigation or transaction given its

                                  8    specific legal and factual issues.” Id. at 712–13 (quoting Flatt, 9 Cal. 4th at 283). “[T]he

                                  9    Jessen evaluation of whether the two representations are substantially related centers

                                  10   precisely upon the factual and legal similarities of the two representations.” Farris, 119

                                  11   Cal. App. 4th at 679.

                                  12             Beginning with the factual content, WhatsApp contends that its technology and
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                                  13   systems are at the heart of both the prior and current representations. Mtn. at 10. K&S

                                  14   responds that simply because two matters involve a company’s core service does not

                                  15   necessarily mean that the factual content is similar and that a sufficient factual distinction

                                  16   exists here. Opp. at 11.

                                  17             With respect to the prior representation, K&S’s representation of WhatsApp

                                  18   involved a

                                  19

                                  20        . According to an attorney at ZwillGen, this included a

                                  21                      providing

                                  22

                                  23

                                  24

                                  25

                                  26   Dkt. 59-6, Declaration of Jacob Sommer (“Sommer Decl.”), ¶ 6; see also Thornton Decl.,

                                  27   Ex. 7 (                                           ).

                                  28
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                                  3                             Sommer Decl. ¶ 7. WhatsApp’s then-

                                  4               attended an in-person meeting with the              , which was also attended by

                                  5    O’Neil (in person) and Wray (by telephone). Id. ¶ 8.

                                  6

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                                  12   Id. ¶ 9.
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                                  13          With regard to the current representation, in their complaint, plaintiffs allege that

                                  14   defendants created a program, termed Pegasus, that could “remotely and covertly extract

                                  15   valuable intelligence from virtually any mobile device.” Compl. ¶ 27. Broadly speaking,

                                  16   Pegasus is alleged to operate by first sending malicious code through WhatsApp’s

                                  17   servers to a user’s device. Id. ¶ 36. Then, defendants caused encrypted data packets to

                                  18   be sent to a user’s device, designed to activate the malicious code residing on the

                                  19   memory of the target devices. Id. ¶ 39. Once activated, the malicious code caused the

                                  20   target device to connect to a remote server hosting defendants’ malware, which was then

                                  21   downloaded and installed on the target devices. Id. ¶ 40. The malware was designed to

                                  22   give defendants and their customers access to information and data stored on the target

                                  23   devices. Defendants and their customers could customize the malware for different

                                  24   purposes including intercepting communications, capturing screenshots, or exfiltrating

                                  25   browser history and contacts from a user’s device. Id. ¶¶ 27, 41.

                                  26          Assessing the two matters is not a straightforward affair considering that the prior

                                  27   representation is entirely under seal and that WhatsApp’s platform involves technical

                                  28   coding and language of the sort unfamiliar to most lay people. With that caution in mind,
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                                  1    the issue here can best be described as what level of generality is used to define the

                                  2    factual similarities between the two matters. At a high level of generality both cases

                                  3    involve WhatsApp’s technology and systems, as plaintiff suggests. At a more granular

                                  4    level, there are clear distinctions between the two matters. As K&S points out, Pegasus

                                  5    is not used to decrypt messages sent over WhatsApp’s servers or platform. Instead, it is

                                  6    alleged to be used to view and exfiltrate content from a user’s device and the WhatsApp

                                  7    platform is merely a conduit to send malicious code and malware. In comparison, the

                                  8

                                  9                                                                                         . To

                                  10   defendants, WhatsApp is a trojan horse that allowed them to install malware and then

                                  11   send information through means other than WhatsApp.

                                  12                                                                             .
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                                  13          Plaintiff cites SC Innovations, Inc. v. Uber Techs., Inc., No. 18-cv-07440-JCS,

                                  14   2019 WL 1959493, (N.D. Cal. May 2, 2019), as on point. There, Uber sought to

                                  15   disqualify its former counsel, Quinn Emanuel, from representing the plaintiff, SC

                                  16   Innovations. Id. at *1. Both Uber and SC Innovations offered smartphone applications to

                                  17   users to allow them to hail rides from drivers, but Uber was alleged to have lowered their

                                  18   prices to supra-competitive levels in an effort to drive competitors, including SC

                                  19   Innovations, out of business. Id. SC Innovations was in fact forced out of business and

                                  20   brought suit against Uber, alleging various anti-trust violations. Quinn Emanuel had

                                  21   previously represented Uber in anti-trust actions brought against Uber by local taxi and

                                  22   limousine operators. Id. at *2.

                                  23          The district court rejected SC Innovations’ arguments that the representations

                                  24   were distinct, reasoning that the SC Innovation representation and Quinn Emanuel’s prior

                                  25   representation of Uber in taxi operator disputes had a common factual predicate: they all

                                  26   related to the same services provided by Uber, specifically “the provision or facilitation of

                                  27   ride-hailing for passenger transportation.” Id. at *7. The court noted that there might be a

                                  28   different outcome if the “earlier cases addressed Uber’s ‘Uber Eats’ food delivery service
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                                  1    while the current case addressed its passenger services.” Id. The court also found

                                  2    persuasive arguments that the prior and subsequent representations “where a necessary

                                  3    element of [SC Innovations’] claims was also at issue in [the prior representation] with

                                  4    respect to the same Uber product or products, an overlapping time period, and an

                                  5    overlapping (or at least immediately neighboring) geographic market.” Id. at *9.

                                  6          While SC Innovations’ reasoning is persuasive, the facts in this case suggest a

                                  7    different outcome. There, the service provided by Uber, ride-hailing for passenger

                                  8    transportation, was the same in both the prior and subsequent representations. Here,

                                  9    two different functions of WhatsApp are at issue: on the one hand, using WhatsApp’s

                                  10   platform as a conduit to transmit malicious code; on the other, efforts to decrypt or access

                                  11   messages using WhatsApp’s service as the means to do so. Plaintiff argues that both

                                  12   the prior and current representation involve efforts to circumvent WhatsApp’s encryption.
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                                  13   To an extent this is true, but how the encryption was to be circumvented matters.

                                  14

                                  15                                                                                      The

                                  16   Pegasus program is alleged to have circumvented the encryption not by decrypting

                                  17   WhatsApp’s messages but by exfiltrating information after it had been decrypted by

                                  18   WhatsApp’s app and stored on a user’s device.

                                  19         As noted at the outset, there is some potential overlap in factual matter. For

                                  20   example, in the prior representation

                                  21

                                  22                                  . Sommer Decl. ¶¶ 7–9. As alleged in the complaint, the

                                  23   Pegasus program using WhatsApp’s platform sent malicious code and encrypted data

                                  24   packets to user’s phones. The potential overlap in factual matter could lie in the way in

                                  25   which WhatsApp’s platform encrypts its data. That is, knowledge of how WhatsApp’s

                                  26   encryption and/or platform works was likely helpful in designing the Pegasus program.

                                  27         Therefore, this case is unlike TWiT, LLC v. Twitter Inc., No. 18-cv-00341-JSC,

                                  28   2018 WL 2470942 (N.D. Cal. June 1, 2018), cited by K&S. There, the prior matter
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                                  1    involved a patent infringement dispute involving audio and video streaming technology.

                                  2    Id. at *5. The subsequent matter involved whether the defendant “made an oral and

                                  3    written promise to stay out of the audio and video streaming market and whether [the

                                  4    defendant] infringes [the plaintiff’s] [trade]mark.” Id. The court noted that while the fact

                                  5    that the plaintiff utilized video and audio streaming was relevant to both matters, the

                                  6    “actual audio and video technology” was not relevant. Id. (emphasis omitted). Here,

                                  7    unlike TWiT, the technology is relevant to both the prior and current representations

                                  8    because, at some level, the Pegasus program purportedly sought to compromise the

                                  9    same platform and servers to which the government sought access.

                                  10          Any potential overlap in the factual matter is circumscribed by the distinct nature of

                                  11   the legal claims between the prior and current representations. In SC Innovations, the

                                  12   court relied not just on the overlap in the factual matter but also on the fact that at least
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                                  13   one of the prior representations involved allegations that Uber violated antitrust law.

                                  14   2019 WL 1959493, at *7; see also Beltran v. Avon Prod., Inc., 867 F. Supp. 2d 1068,

                                  15   1082 (C.D. Cal. 2012) (noting that prior case and “present case involves legal claims for

                                  16   false advertising and unfair competition”). No such overlap of legal claims exist in this

                                  17   case. In the prior representation, K&S represented WhatsApp

                                  18
                                  19                                                                              . In the current

                                  20   representation, plaintiffs bring civil claims under the Computer Fraud and Abuse Act, 18

                                  21   U.S.C. § 1030, the California Comprehensive Computer Data Access and Fraud Act, Cal.

                                  22   Penal Code § 502, a breach of contract claim, and a trespass to chattels claim.

                                  23          Finally, the information acquired during the first representation must be “material”

                                  24   to the second;

                                  25                 that is, it must be found to be directly at issue in, or have some
                                                     critical importance to, the second representation. Thus, for
                                  26                 example, the attorney’s acquisition during the first
                                                     representation of general information about the first client’s
                                  27                 “overall structure and practices” would not of itself require
                                                     disqualification unless it were found to be “material”—i.e.,
                                  28                 directly in issue or of critical importance—in the second
                                                                                     12
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                                                      representation.
                                  1

                                  2    Farris, 119 Cal. App. 4th at 680 (citations omitted).

                                  3           Here, plaintiff has not demonstrated that the information acquired during the first

                                  4    representation is material to resolving the claims alleged in the complaint. In the prior

                                  5    representation, how WhatsApp’s application, encryption, platform design, server

                                  6    infrastructure, and protocols were material to the                         into how to de-

                                  7    crypt messages sent on WhatsApp’s platform. The technical aspects of whether or how

                                  8    an actor can circumvent the platform might constitute relevant background information,

                                  9    but plaintiff has not demonstrated how such general information is “directly in issue or of

                                  10   critical importance” in reference to the claims at issue in this case.

                                  11          In sum, plaintiff has not demonstrated that the two matters are substantially related

                                  12   and absent such a relationship, there is no presumption that K&S acquired material
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                                  13   confidential information.

                                  14          2.      Whether K&S In Fact Retains Material Confidential Information

                                  15          “If the former client fails to demonstrate the successive representations are

                                  16   substantially related, ‘the moving party must prove the lawyer in fact obtained such

                                  17   information—i.e., some showing of the nature of the communications or a statement of

                                  18   how they relate to the current representation.’” TWiT, 2018 WL 2470942, at *5 (internal

                                  19   quotation marks and citations omitted); see also H.F. Ahmanson & Co., 229 Cal. App. 3d

                                  20   at 1452. “[T]he information acquired during the first representation [must] be ‘material’ to

                                  21   the second; that is, it must be found to be directly at issue in, or have some critical

                                  22   importance to, the second representation.” Farris, 119 Cal. App. 4th at 680.

                                  23          Here, plaintiff has identified documents that could be both material and in K&S’s

                                  24   possession. Specifically, WhatsApp submitted a declaration from a ZwillGen attorney

                                  25   stating that

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                                  7    Sommer Decl. ¶¶ 6, 12. As part of its documents submitted with the opposition brief,

                                  8    K&S produced

                                  9                                                            that was referenced in the Sommer

                                  10   Declaration, which plaintiff also cites in its reply brief. Thornton Decl., Ex. 7; Reply at 10.

                                  11   Mezzina’s billing record reflects an entry that he reviewed the documents in question and

                                  12   Oldham later asked him to revisit his work in light of the facts in the documents. Id.
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                                  13   (citing Thornton Decl., Ex. 18).

                                  14          For its part, K&S does not directly dispute that it retains some information relating

                                  15   to the prior representation because it has, of course, produced them in response to

                                  16   plaintiff’s motion and further disclosed that the physical documents pertaining the prior

                                  17   representation were stored at the firm’s offsite storage facility until they were moved to

                                  18   the GC’s office, where they are currently stored. Opp. at 7 & n.4. The GC has blocked

                                  19   access for everyone other than him and his office to the electronic document

                                  20   management files relating to the prior representation. Id. at 8. The email data for the

                                  21   attorneys who worked on the prior representation were archived and cannot be accessed

                                  22   by anyone other than the GC’s office. Thornton Decl. ¶ 24.

                                  23          Initially, it is helpful to pinpoint with specificity the confidential information that

                                  24   plaintiff contends is both actually obtained by K&S and material to the current

                                  25   representation. See H. F. Ahmanson & Co., 229 Cal. App. 3d at 1459 (assessing specific

                                  26   declarations to determine whether firm “in fact possesses such confidential information”).

                                  27   Both the reply and the Sommer Declaration only identify one document at issue. See

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                                  1    also Thornton Decl., Ex. 7 at 128–37.4 Otherwise, plaintiff identifies information actually

                                  2    acquired by Wray and O’Neil in the course of drafting and revising correspondence and

                                  3    their presence at the in-person meetings.

                                  4           A few points stand out when assessing the client information and, taken together,

                                  5    demonstrate that K&S does not in fact possess material confidential information. First,

                                  6    the document makes clear that its technical descriptions of the WhatsApp security

                                  7    measures are based on “                                               .” Thornton Decl.,

                                  8    Ex. 7 at 129. The letter even goes so far as to provide

                                  9                      which indicates the letter provides less detail than what is publicly

                                  10   available. Id. The remainder of the letter does not contain technical descriptions of how

                                  11   WhatsApp’s app and servers work, but rather arguments as to why particular courses of

                                  12   action would be impractical.
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                                  13          The court does not discount that some nugget of information contained in the letter

                                  14   could be confidential and material, but the technical aspects of the document clearly refer

                                  15   to security features that are based on open source software and described in even

                                  16   greater detail on publicly available websites. Under Rule 1.9(c)(1), a lawyer whose

                                  17   present firm has formerly represented a client shall not use confidential information

                                  18   except “when the information has become generally known.” The document appears to

                                  19   summarize information that is already public. These facts undermine plaintiff’s claim that

                                  20   the information in K&S’s possession is confidential.

                                  21          Second, WhatsApp authorized ZwillGen to share the information with a third party,

                                  22   which would have removed that information from the realm of attorney-client privilege.

                                  23   Cal. Evid. Code § 952. Of course, attorney-client privilege is narrower than the duty of

                                  24   confidentiality, but the Ahmanson court found the presence of a third party persuasive in

                                  25   determining why an attorney did not actually acquire confidential information. See 229

                                  26   Cal. App. 3d at 1460 (citing Cal. Evid. Code § 952; and Ver Bryck v. Luby, 67 Cal. App.

                                  27
                                       4Pin citations for the Thornton Declaration exhibits are to the CM/ECF page numbers
                                  28
                                       electronically stamped atop docket entry 79-24.
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                                  1    2d 842, 844 (Ct. App. 1945)).

                                  2           Third, no attorney at K&S, other than the GC and his staff, have access to any of

                                  3    the client files or communications relating to the prior representation. While the firm

                                  4    retains the files, no attorney has access to those files. Thus, plaintiff has not

                                  5    demonstrated that a K&S attorney actually has confidential documents in his or her

                                  6    possession.

                                  7           Fourth, as with the court’s substantial relationship analysis, it is not clear the

                                  8    documents in K&S’s possession are material. Even assuming the documents contain

                                  9    information that is not publicly known and thus confidential, plaintiff has not demonstrated

                                  10   how the technical information is material—i.e., directly in issue or of critical importance—

                                  11   to its current claims, as opposed to general knowledge.

                                  12          In sum, plaintiff has not carried its burden to demonstrate that the two matters are
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                                  13   substantially related or that K&S actually retains confidential material. Disqualifying

                                  14   counsel is a high bar because “disqualification is a drastic measure that is generally

                                  15   disfavored and should only be imposed when absolutely necessary.” Concat, 350 F.

                                  16   Supp. 2d at 814–15. This circumstance does not rise to the level necessitating

                                  17   disqualification.

                                  18          3.     Motions to File Under Seal

                                  19          Both K&S and plaintiff seek to seal portions of, respectively, their opposition and

                                  20   reply briefs. Dkts. 79, 88. Plaintiff previously moved to file portions of its motion and

                                  21   supporting documents under seal, (Dkts. 47, 59, 63), which this court eventually granted,

                                  22   (Dkt. 67).

                                  23          There is a general presumption in favor of public access to federal court records.

                                  24   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978); Foltz v. State Farm Mut.

                                  25   Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003). “[T]he proponent of sealing bears

                                  26   the burden with respect to sealing. A failure to meet that burden means that the default

                                  27   posture of public access prevails.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172,

                                  28   1182 (9th Cir. 2006). When a request to seal documents is made in connection with a
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                                  1    motion, the court must determine whether the parties are required to overcome that

                                  2    presumption with “compelling reasons” or with “good cause.” A party seeking to seal

                                  3    materials submitted with a motion that is “more than tangentially related to the merits of

                                  4    the case”—regardless whether that motion is “technically dispositive”—must demonstrate

                                  5    that there are compelling reasons to keep the documents under seal. Ctr. for Auto Safety

                                  6    v. Chrysler Grp., LLC, 809 F.3d 1092, 1101–02 (9th Cir. 2016). Conversely, if the motion

                                  7    is only tangentially related to the merits, “a ‘particularized showing,” under the ‘good

                                  8    cause’ standard of Rule 26(c) will ‘suffice[] to warrant preserving the secrecy of sealed

                                  9    discovery material attached to non-dispositive motions.” Kamakana, 447 F.3d at 1180

                                  10   (alteration in original) (quoting Foltz, 331 F.3d at 1135, 38).

                                  11          Here, the underlying motion to disqualify is only tangentially related to the merits of

                                  12   the case. Moreover, the court previously found good cause to grant plaintiff’s motion to
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                                  13   file under seal. See Dkt. 67. The opposition and reply briefs are “narrowly tailored to

                                  14   seek sealing only of sealable material.” Civ. L.R. 79-5(b). The same good cause to grant

                                  15   plaintiff’s prior motion to file under seal exists with regard to K&S’s and plaintiff’s present

                                  16   motions.

                                  17          For the foregoing reasons, plaintiff’s and K&S’s motions to file under seal are

                                  18   GRANTED.

                                  19          4.     Plaintiff’s Motion for Protective Order

                                  20          Finally, plaintiff filed an ex parte motion for protective order, concurrent with its

                                  21   original motion to file under seal. Dkt. 47-12. The court deferred ruling on the motion for

                                  22   protective order until it dealt with the motion to disqualify (Dkt. 68), and now addresses

                                  23   the motion for protective order.

                                  24          Federal Rule of Civil Procedure 26(c) provides that “[t]he court may, for good

                                  25   cause, issue an order to protect a party or person from annoyance, embarrassment,

                                  26   oppression, or undue burden or expense, including . . . requiring that a trade secret or

                                  27   other confidential research, development, or commercial information not be revealed or

                                  28   be revealed only in a specified way.” A court has “broad discretion . . . to decide when a
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                                  1    protective order is appropriate and what degree of protection is required.” Seattle Times

                                  2    Co. v. Rhinehart, 467 U.S. 20, 36 (1984). “For good cause to exist, the party seeking

                                  3    protection bears the burden of showing specific prejudice or harm will result if no

                                  4    protective order is granted.” Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307

                                  5    F.3d 1206, 1210–11 (9th Cir. 2002) (citing Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d

                                  6    470, 476 (9th Cir.1992)

                                  7           Here, plaintiff argues that a limited protective order is warranted because the prior

                                  8    litigation remains under seal and the parties will need to refer to documents when

                                  9    discussing the motion to disqualify. Dkt. 47-12 at 1–2. Plaintiff requests the protective

                                  10   order cover any information related to the sealed proceedings before the other federal

                                  11   district court. Dkt. 47-13.

                                  12          This court previously found that good cause exists to seal certain documents
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                                  13   related to plaintiff’s motion to disqualify. See Dkt. 67. The motion for protective order is a

                                  14   logical extension of that finding because the subject matter of the proposed protective

                                  15   order derives from the same underlying sealed case as this court’s sealing order. It is

                                  16   also likely there is a significant overlap between the contents of the protective order and

                                  17   the sealing order. Additionally, K&S has not objected to the motion for protective order,

                                  18   despite being put on notice that the court would defer ruling on the motion. See Dkt. 68.

                                  19   Finally, K&S has already committed to screening its NSO Group litigation team from the

                                  20   material related to the prior representation (both by restricting access and by hiring

                                  21   outside counsel for the purposes of the motion to disqualify). Thus, the court

                                  22   understands that the limited protective order would simply codify that internal restriction.

                                  23          For the foregoing reasons, plaintiff’s motion for protective order is GRANTED.

                                  24                                          CONCLUSION

                                  25          For the foregoing reasons, plaintiff WhatsApp Inc.’s motion to disqualify is

                                  26   DENIED.

                                  27   ///

                                  28   ///
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                                  1          Additionally, the parties’ motions to file under seal and plaintiff’s motion for

                                  2    protective order are GRANTED.

                                  3          IT IS SO ORDERED.

                                  4    Dated: June 16, 2020

                                  5                                                 /s/ Phyllis J. Hamilton
                                                                                    PHYLLIS J. HAMILTON
                                  6                                                 United States District Judge
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